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                                    AFFIDAVIT

       I, Dwayne Roelfs, being duly sworn, depose and state:

   1. I am a Deputy Sheriff, with the Champaign County Sheriff’s Office,

assigned to the Criminal Investigations Division. I have been employed as an

Investigator at the Champaign County Sheriff’s Office for over twenty years. As

part of my daily duties as an Investigator, I investigate criminal violations relating

to child exploitation and child pornography including violations pertaining to the

illegal production, distribution, receipt and possession of child pornography, in

violation of state and federal laws, 18 U.S.C. §§ 2252(a) and 2252A. I have received

training in the area of child pornography and child exploitation, and have had the

opportunity to observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media including computer media. I

have also participated in the execution of numerous search warrants, many of

which involved child exploitation and/or child pornography offenses.

   2. This affidavit is made in support of a criminal complaint to arrest, Douglas

O. Mynatt for violations of 18 U.S.C. §§ 2252 and 2252A, which among other

things, makes it a crime to possess, receive, and distribute child pornography,

which has traveled in interstate commerce via the Internet by means of a

computer.

   3. The facts set forth in this affidavit are based on my personal knowledge and

investigation. This affidavit is also based on knowledge I obtained from other

individuals, including other law enforcement officers, my review of documents

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related to this investigation, communications with others who have personal

knowledge of the events and circumstances described in this affidavit, and

information gained through my training and experience.

   4. Because this Affidavit is being submitted for the limited purpose of

securing an arrest warrant, I have not included each fact known to me concerning

this investigation. I have set forth only those facts that I believe are necessary to

establish probable cause to believe that Douglas O. Mynatt committed violations

of 18 U.S.C. § 2252 and 2252A in the Central District of Illinois. Where statements

of others are set forth in this Affidavit, they are set forth in substance and in part.

   5. The investigation has revealed that Mynatt utilized the Internet Protocol

address (“IP address”) 23.123.74.109 on numerous dates including: January 9,

2020, January 10, 2020, January 15, 2020, January 20, 2020, and January 24, 2020 to

distribute and possess child pornography using a computer/digital device that

was located in his residence on the 100 block of Dropseed Ave, in Savoy, Illinois,

in the Central District of Illinois. Mynatt chatted with other individuals and

distributed child pornography images using the internet through an application

based in the United States, referred to herein as “Application A.”

                           STATUTORY AUTHORITY

   6. As noted above, this investigation concerns alleged violations of the

following:

       a.     Title 18, United States Code, Sections 2252(a)(2) and (b)(1) prohibit
              any person from knowingly receiving or distributing, or attempting
              or conspiring to receive or distribute, any visual depiction using any

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     means or facility of interstate or foreign commerce, or that has been
     mailed or shipped or transported in or affecting interstate or foreign
     commerce, or which contains materials which have been mailed or
     so shipped or transported, by any means including by computer, or
     knowingly reproducing any visual depiction for distribution using
     any means or facility of interstate or foreign commerce, or in or
     affecting interstate or foreign commerce or through the mails, if the
     production of such visual depiction involved the use of a minor
     engaging in sexually explicit conduct and such visual depiction is of
     such conduct.

b.   Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2)
     prohibit any person from knowingly possessing or accessing with
     the intent to view, or attempting or conspiring to possess or access
     with the intent to view, 1 or more books, magazines, periodicals,
     films, video tapes, or other matter which contain any visual
     depiction that has been mailed, or has been shipped or transported
     using any means or facility of interstate or foreign commerce or in or
     affecting interstate or foreign commerce, or which was produced
     using materials which have been mailed or so shipped or
     transported, by any means including by computer, if the production
     of such visual depiction involved the use of a minor engaging in
     sexually explicit conduct and such visual depiction is of such
     conduct.

c.   Title 18, United States Code, Sections 2252A(a)(2)(A) and (b)(1)
     prohibit a person from knowingly receiving or distributing, or
     attempting or conspiring to receive or distribute, any child
     pornography or any material that contains child pornography, as
     defined in 18 U.S.C. § 2256(8), that has been mailed, or using any
     means or facility of interstate or foreign commerce shipped or
     transported in or affecting interstate or foreign commerce by any
     means, including by computer.

d.   Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2)
     prohibit a person from knowingly possessing or knowingly
     accessing with intent to view, or attempting or conspiring to do so,


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             any material that contains an image of child pornography, as defined
             in 18 U.S.C. § 2256(8), that has been mailed, or shipped or
             transported using any means or facility of interstate or foreign
             commerce or in or affecting interstate or foreign commerce, by any
             means, including by computer, or that was produced using materials
             that have been mailed or shipped or transported in or affecting
             interstate or foreign commerce by any means, including by
             computer.

                         Background on Application A

   7. Application A is a freeware instant messaging mobile app presently based

in the United States. Application A is a smartphone messenger application that

lets users connect with their friends and the world around them through chat.

Users can send text, pictures, videos and more – all with the app.

   8. Application A is available for download through the iOS App Store and the

Google Play store on most iOS (iPhone, iPod, iPad), Android (including Kindle

Fire) and Windows 7 devices. Application A is free to download and uses an

existing Wi-Fi connection or data plan to send and receive messages, photos,

videos, sketches, mobile webpages, and other content after users register a

username. Application A is known for its features preserving users’ anonymity,

such as allowing users to register without providing a telephone number.

However, the Application A application logs user IP addresses, which the

company can use to determine location. As of May 2016, Application A Messenger




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had approximately 300 million registered users, and was used by approximately

40% of United States teenagers.

   9. A main attraction of Application A that differentiates it from other

messaging apps is its anonymity. To register for the Application A service, a user

must enter a first and last name, e-mail address, and birth date (which, as of

February 2016, must show that the user is at least 13 years old), and select a

username. The Application A registration process does not request or require the

entry of a phone number (although the user has the option to enter one), unlike

some other messaging services that require a user to provide a functioning mobile

phone number.

   10. In March 2015, the company adopted a more aggressive strategy by

utilizing Microsoft’s PhotoDNA cloud service to automatically detect, delete, and

report the distribution of child exploitation images on its app.

   11. In October of 2019, Application A Messenger announced they had been

purchased by a company located in the United States.

                             Details of Investigation

   12. On March 20, 2020, Investigator Roelfs received a CyberTip referral

regarding the possession and distribution of child pornography. CyberTips are

routinely distributed from the Illinois Attorney General’s Office, Internet Crimes

Against Children (ICAC) division. In this CyberTip the ICAC referral originated

with the National Center for Missing and Exploited Children (NCMEC).

Application A self-reported to NCMEC that one of their online social media users

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was possessing content believed to be images and movies of child pornography.

Application A reported that their user, identified as “              shared some of

the illegal content in a “private chat message” and the user shared other content

in a “messaging group,” consisting of multiple Application A users. On five

different dates/online sessions between January 9, 2020, 1606 hours (CST) and

January 24, 2020, 1157 hours (CST) a total of 15 digital files of suspected child

pornography were uploaded by the suspect account, “                    Seven of the

suspect files were sent from the suspect’s account to other users via, “private chat

message.” Eight of the suspect files were sent from the suspect’s account to other

users in special “messaging groups.”

    13. When each suspected digital file of child pornography was shared, the user,

“            utilized the same IP address (23.123.74.109), an IP address controlled

by AT&T and geo-located to Savoy, Illinois. I have viewed the suspected child

pornography images and videos that were submitted to NCMEC for the user

“           and based on my training and experience, I believe the following to

contain child pornography, as that term is defined by federal law.

       a.     “bec6b35a-79f0-4312-b25b-01b3a1654f88.mp4” is a movie that is
              twenty eight (28) seconds in length. The movie contains a
              prepubescent minor Asian female with black hair approximately 8-
              11 years of age. The female appears to be sitting and she appears to
              be holding the recording device with her left hand while she touches
              her vagina with her right hand. The female is wearing a Mickey
              Mouse type pajama top and does not appear to be wearing any pants
              or underwear. On 01/11/2020 at 01:07:46 (UTC) this file was sent
              from the suspect to other users in a “messaging group”.


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b.   “dfd3cdcb-d72e-4b12-b3a9-f2542485f0ed.mp4” is a movie that is
     fifteen (15) seconds in length. The movie contains a prepubescent
     minor Asian female with black hair approximately 6-9 years of age.
     The female is wearing a coat and appears to be sitting in front of a
     bookshelf filled with books while looking towards the camera that is
     recording her. As the movie plays the camera view moves away from
     the female’s face and down towards her vagina. The female is not
     wearing pants or underwear and her vagina is exposed to the
     camera. The female uses her right hand and places her fingers on and
     inside her vagina. On 01/11/2020 at 0125 hrs (UTC) this file was sent
     by the suspect to other users in a “messaging group”.

c.   “5f475dc6-226f-4e0d-a9ec-9be9bb0e258f.mp4” is a movie that is
     thirty-eight (38) seconds in length. The movie contains a
     prepubescent minor Asian female with black hair approximately 8-
     11 years of age. The female is naked and positioned lying on her back
     with her arms stretched up and behind her head. As the movie plays
     the focal point changes. The camera moves down from the head of
     the female to the female’s vagina where an adult white male’s penis
     can be seen penetrating the female’s vagina. On 01/11/2020 at 0156
     hrs (UTC) this file was sent by the suspect to other users in a
     “messaging group”.

d.   “3d064045-4982-453d-9e07-141311f368f0.mp4” is a movie that is one
     minute and twelve seconds (1:12) in length. The movie begins by
     showing three naked bodies, two white females and an adult white
     male. The adult male is positioned standing behind one female’s
     buttocks with his penis inserted into that female’s anus. The second
     white female is shown lying on her back positioned on top of the first
     white female’s back. The second white female’s vagina is fully
     exposed, and the camera’s focal point is fixated on this female’s
     vagina, the buttocks of the first female, and the adult male’s penis
     that is penetrating the anus of the first female. There is a moment
     during this movie when the second female’s face is partially visible.
     The faces of the first female and adult male are not visible. The age
     estimate of the first female is not possible because most of her body
     is covered by the second female that is lying on her back. The age of


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     the second female appears to be approximately 6-9 years of age.
     Additionally, the left hand of the adult male is visible, and the male’s
     thumb is rubbing the second female’s vagina and also inserted into
     the second female’s vagina. On 01/15/2020 at 2221 hrs (UTC) this
     file was sent by the suspect to other users in a “messaging group”.

e.   “1f96a0b5-8123-4ff3-9221-c31724f72480.jpg” is an image of a minor
     white female with brown hair approximately 11-13 years of age. The
     female appears to be seated naked from the waist up. The image is a
     close-up image of the female showing her from the waist up to her
     eyebrows. The female appears to have a pink colored pair of pants
     or shorts on. The female’s bare breasts are exposed showing some
     indication of breast development. On 01/20/2020 at 1434 hrs (UTC)
     this file was sent by the suspect to other users in a “messaging
     group.”

f.   “4385adbb-2745-4b70-a768-58805a4c9696.mp4” is a movie that is
     two minutes (2:00) in length. The movie contains a minor white
     female with blonde hair and being approximately 12-15 years of age.
     There is audio with this movie and the movie begins by the female
     talking to the camera/recording device stating her name was
     “Leslie” and saying that she was 12 years old and that it was her first
     time “masturbating”. The female is in a bathroom and can be seen
     standing up and backing away from the camera. The female removes
     her shirt followed by removing her blue colored bra. During the
     movie voices in the background can be heard conversing along with
     the sound of a baby’s cries. The female rubs her hands over her
     naked body including her bare breasts, buttocks, and vaginal areas.
     The female eventually sits on the bathroom floor and spreads her
     legs while rubbing her right hand and fingers on her vagina. The
     female has a large amount of pubic hair present. On 01/20/2020 at
     approximately 1436 hrs this file was sent by the suspect to other
     users in a “messaging group”.

g.   “5e0073dc-176f-4535-848b-58db8bea4f5d.mp4” is a movie that is
     fifteen seconds (15) in length. The movie contains a prepubescent
     minor white female with brown hair and being approximately 6-9


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     years of age. There is audio present in this movie, however, the
     noises present do not appear to be from human voices. The female
     appears to be standing in a bathroom and is positioned towards the
     camera. The female is naked and begins by walking towards the
     camera and then kneeling on the floor directly in front of the camera.
     The female begins rubbing her bare under developed breasts
     followed by using both her hands to frame her vaginal area for the
     camera. The female then stands up turning around and squatting her
     buttocks down to the floor. The female then places her hands on the
     floor positioning herself on her hands and knees with her anus and
     vagina exposed to the camera. The female shakes her bottom while
     in this position. On 01/24/2020 at 1751 hrs (UTC) this file was sent
     by the suspect to another user via a “private chat message”.

h.   “93d31804-511a-4544-9f2f-a899249b455e.mp4” is a movie that is one
     minute and eight seconds (1:08) in length. The movie contains a
     minor white female with brown hair and being approximately 12-15
     years of age. There is audio present during this movie, however, only
     background noise is heard with no words or voices being
     discernable. The movie begins with the female using her left hand
     rubbing her vagina and inserting fingers into her vagina. The female
     then stands up turning around placing her buttocks towards the
     camera. The female rubs her buttocks and spreads them apart to
     show her anus and vagina to the camera. The female then turns back
     around towards the camera lifting her shirt showing and rubbing her
     bare breast. On 01/24/2020 at 1753 hrs (UTC) this file was sent by
     the suspect to another user via a “private chat message”.

i.   “3beoff78-288e-4949-a775-66aa1d2d55d2.mp4” is a movie that is one
     minute and twenty-two seconds (1:22) in length. The movie contains
     a prepubescent minor Asian female with black hair and that is
     approximately 6-9 years of age. There is no audio present during this
     movie. The movie begins with the female exposing her under
     developed breasts seated in front of a camera device. The female
     then pulls her top up from her torso placing the shoulder straps over
     her shoulders. At approximately thirty-four seconds (34) into the
     movie, an adult white male who is not wearing pants and has an


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             erect penis approaches the side of the female. The female can be seen
             holding the male’s penis as the male places his penis into the
             female’s mouth. The male removes his penis from the female’s
             mouth, masturbates himself and ejaculates onto the female’s chest.
             On 01/24/2020 at 1754 hrs (UTC) this file was sent by the suspect to
             another user via a “private chat message”.

      j.     “caca73d7-1573-4784-8fd4-6211093eaa6c9.mp4” is a movie that is
             one minute and forty-five seconds (1:45) in length. The movie
             consists of a minor white female with blonde hair and that is
             approximately 10-12 years of age. There is audio noise present
             during the movie, but no voices are heard. The movie begins with
             the female sitting on the edge of a bed. The female is wearing a white
             colored sports type bra and no underwear clothing from the waist
             down. The camera moves to focusing on the female’s vagina as she
             sits on the bed. The female then changes position by turning over
             and kneeling on the bed placing her buttocks facing the camera. On
             01/24/2020 at 1757 hrs (UTC) this file was sent by the suspect to
             another user via “private chat message”.

   14. Investigator Roelfs determined that the IP address 23.123.74.109 was

assigned to the Internet Service Provider: AT&T, headquartered at 11760 U.S.

Highway 1, Suite 300, North Palm Beach, FL. On March 23, 2020, your affiant sent

a State of Illinois Subpoena Duces Tecum to AT&T for the IP records maintained

by AT&T, who holds the registration on the IP address 23.123.74.109, requesting

subscriber information for the user of that IP address on the date and time that the




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suspect files were transferred/distributed on Application A, between January 9,

2020, 22:06:42 (UTC) and February 5, 2020 02:48:27 (UTC), as detailed above.

   15. On March 24, 2020, AT&T provided the results from the Subpoena Duces

Tecum. The results stated that IP address 23.123.74.109, was assigned to subscriber

S.M. at the 100 block of Dropseed Dr., in Savoy, Ill., in the Central District of

Illinois. AT&T further provided an associated phone number for this subscriber

account, and noted that the account was currently “active.”

   16. A law enforcement database check revealed that S.M. currently resides at

the 100 block of Dropseed Dr., Savoy, Illinois and that she has reportedly lived at

this address since February 2010. The database check also revealed that Douglas

O. Mynatt shared this residence. Additional investigation revealed that S.M. and

Mynatt appeared to share a child who is approximately 13 years old.

   17. On March 25, 2020, your affiant checked the Illinois Secretary of State

database and learned that Douglas O. Mynatt, is a white male born in August,

1963, with an affiliated address listed on his driver’s license on the 100 block of

Dropseed Dr., Savoy, Illinois, 61874.

   18. The database check also revealed that Mynatt was possibly employed by

“University Laboratory High School” located at the 1200 block of W. Springfield

Ave., Urbana, Illinois (located on campus at the University of Illinois). The online

social media check revealed a Facebook profile for Mynatt and a check of his

timeline revealed that Mynatt updated his profile picture and cover photo in

November 2019. The picture and photo updates showed Mynatt posing with high

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school aged female cross-country runners. Additional photos on Douglas’s

Facebook timeline showed him posing in front a “University of Illinois –

University High School – 1212 W Springfield Avenue” sign.

   19. On March 26, 2020, your affiant traveled to 103 Dropseed Dr., Savoy, Illinois

61874, to observe and photograph the residence. Additionally, your affiant used

his work cell phone to scan the immediate vicinity of the residence for available

wireless Wi-Fi networks. Your affiant detected a total of fifteen different wireless

Wi-Fi networks and noted that all these available networks were secured networks

requiring a password to join.

   20. On March 27, 2020, your affiant received notification from Taylor Burd,

National Center for Missing and Exploited Children (NCMEC) analyst 1, Child

Victim Identification Program, that one of the movie files, “3beoff78-288e-4949-

a775-66aa1d2d55d2.mp4”, that suspect user, “               shared with other users

on the Application Asocial media platform contained a victim child that has been

identified from a previous investigation conducted by the Federal Bureau of

Investigation. The description of this movie file can be located above in this

affidavit under paragraph 13, subparagraph (i). Your affiant noted from the Child

Identification Report, TA#132063, that this movie file was from the series “At

School.”

   21. Included within the cybertip from Application A were additional IP

addresses for logins by the user “             on various dates and times. Your

affiant determined, through publically available database checks that an IP

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address frequently used by “                   130.126.255.137, resolved to the

University of Illinois, in Champaign/Urbana. On March 27, 2020, a U.S.

Department of Justice administrative subpoena was served on the University of

Illinois to determine the user assigned to this IP address on the dates and times

requested in the subpoena. Due to the COVID-19 public health emergency, the

University of Illinois indicated that there may be a delay in providing a detailed

response to the subpoena, however, University Counsel for the University of

Illinois indicated that the primary user of the IP addresses on the dates and times

requested in the government’s subpoena was Douglas O. Mynatt.

   22. On April 2, 2020, United States Magistrate Judge Eric I. Long authorized the

search of Mynatt’s residence on the 100 block of Dropseed Dr. in Savoy, Ill. On

April 3, 2020, the Champaign County Sheriff’s office, the Department of Homeland

Security, and the Urbana Police Department executed the search warrant at

approximately 7:45 am. Mynatt, S.M., and their minor child were only people in

the residence.

   23. Mynatt was transported to the Champaign County Sheriff’s office for

interview. After being properly advised, Mynatt waived his rights and agreed to

an interview.

   24. Mynatt acknowledged that he had created/used two Application A

accounts           and               He said he utilized both accounts to receive

and distribute child pornography files in public groups and private messages.

Mynatt stated that around January 2020 the             account was shut down by

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Application A. Mnatt said that Application A advised him that this account had

violated their terms of service and he knew the account had been shut down due

to child pornography trafficking.

   25. Soon after the               account was shut down Mynatt created a new

Application A account,                  He stated that this account is currently logged

in on the application on his iPhone. He stated that he has used this account to send

and receive child pornography files.

   26. Mynatt said that other Application A users would send him Mega NZ 1

hyperlinks which he would click on and then download the images/videos to his

phone. Mynatt said that whenever he sent files to another Application A user he

just attached the file itself, rather than sending a hyperlink.

   27. Mynatt stated that he saves child pornography files to the Photos

application on his iPhone. He admitted that there would be child pornography

currently stored in the Photos application.

   28. Mynatt acknowledged that he has utilized his iPhone to access his

Application A account(s) from his residence and also from University High

School, where he is employed as a PE teacher/coach.

   29. Mynatt stated that he sometimes masturbates when he views child

pornography.



       1I know based on my training and experience and the training and experience of
other law enforcement agents that Mega NZ is a cloud storage platform that allows
individuals to trade a large volume of files and is frequently utilized by child pornography
offenders.

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   30. Mynatt stated that there have been “multiple times” that he has felt guilty

about his child pornography activities and so he would stop for a while, but then

he would start up again. Mynatt stated that when he stopped he would delete the

pictures / videos from his phone and would also delete Application A.

   31. Mynatt stated that he does have a Mega NZ application on his iPhone but

he doesn’t believe that he has anything stored in that account.

   32. Mynatt stated that he had a sexual relationship with two individuals who

he met while they were his students. He claimed that the individuals were over

18 and out of school when the sexual relationship occurred.

   33. Agents located a picture of a minor female in his computer bag. Mynatt

indicated that he received this image from another individual he chatting with on

Application A. This individual stated the image depicted his step daughter and

directed Mynatt to print image, masturbate to it, video tape this conduct, and

email the video back to him. Mynatt denied doing so.

   34. Specially trained digital media agents have begun a preliminary

examination of Mynatt’s devices. They have extracted approximately 50% of data




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                                   s/
                                   s/ Dwayne
                                      Dwayne Roelfs
                                             Roelfs




s/ Jonathan E. Hawley
